                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


CITY OF MEMPHIS                                                                             PLAINTIFF

VS.                                                              CIVIL ACTION NO. 2:19-cv-02864

HORN LAKE CREEK BASIN INTERCEPTOR
SEWER DISTRICT; DeSOTO COUNTY,
MISSISSIPPI; CITY OF HORN LAKE,
MISSISSIPPI; and CITY OF SOUTHAVEN,
MISSISSIPPI                                                                             DEFENDANTS


      Defendants’ Response in Opposition to Plaintiff’s Motion for Summary Judgment


        Defendants Horn Lake Creek Basin Interceptor Sewer District and DeSoto County,

Mississippi (collectively the “District”) file this Response in Opposition to the City of Memphis

(“City”)’s Motion for Summary Judgment [Doc. # 90], as follows:

        1.      The City seeks summary judgment on its declaratory action despite the fact that

the two Agreements between the parties contain no provision for expiration or for termination by

either party.

        2.      The contracts themselves, as well as their context, purpose, and evidence of the

parties’ intent at the time of signing, all illustrate that the parties did not intend the contract for

wastewater treatment to expire in September 2023. Rather, the contract is “subject to review and

change agreeable to both parties” at that time.

        3.      Because there exist genuine disputes of many material facts regarding the parties’

intentions and their continued obligations beyond 2023, the City’s motion should be denied.

        4.      In support of this Response, Defendants simultaneously file their Memorandum of

Law and Response to the City’s Statement of Undisputed Material Facts. In further support,

Defendants attach the following exhibits:
Exhibit “A” – Tim Verner, P.E. Expert Report

Exhibit “B” – Tim Verner deposition excerpts

Exhibit “C” – 1973-1974 Mississippi-Tennessee Correspondence, COM_000575-580

Exhibit “D” – Hugh Teaford deposition excerpts

Exhibit “E” – 2008 Memphis Sewer System Report

Exhibit “F – Robert Knecht deposition excerpts

Exhibit “G” – Green Book Vol 2 excerpts

Exhibit “H” – District Responses to City of Memphis Interrogatories excerpts

Exhibit “I” – Charles Davis deposition excerpts

Exhibit “J” – Technical Advisory Committee Report

Exhibit “K” - Memphis Resolution of Intent

Exhibit “L” – City of Memphis Responses to District Interrogatories excerpt

Exhibit “M” – Scott Morgan deposition excerpts

Exhibit “N” – City Contracts with Germantown and Bartlett

Exhibit “O” – Brad Davis, P.E. Expert Report

Exhibit “P” – Section 208 Plan Vol 1 excerpt

Exhibit “Q” – City EPA Payment File excerpt, COM_010608-10613

Exhibit “R” – City WIFIA Loan Application excerpt

Respectfully submitted, this the 13th day of September, 2021.

                                     HORN LAKE CREEK BASIN INTERCEPTOR
                                     SEWER DISTRICT


                                     By:/s/ W. Abram Orlansky
                                        W. Abram Orlansky




                                        2
OF COUNSEL:

Michael Gwin (MSB No. 5086)
Keith W. Turner (MSB No. 99252)
W. Abram Orlansky (MSB No. 104172)
Watkins & Eager PLLC
400 East Capitol Street
Jackson, Mississippi 39201
Post Office Box 650
Jackson, Mississippi 39205
Telephone: (601) 965-1900
Facsimile: (601) 965-1901
Email: kturner@watkinseager.com
       mgwin@watkinseager.com
       aorlansky@watkinseager.com

William A. Brown (MSB No. 4708)
Mary Lee Walker Brown (MSB No. 4662)
Walker, Brown & Brown, P.A.
Post Office Box 276
Hernando, Mississippi 38632
Telephone: (662) 429-5277
Facsimile: (662) 429-5280
Email: bbrown@wbblaw.us
        marylee@wbblaw.us




                                       3
                                            DeSOTO COUNTY, MISSISSIPPI


                                            By:/s/ Samuel Barber
                                               Samuel Barber

OF COUNSEL:

Anthony Nowak (MSB No. 10528)
Samuel Barber (MSB No. 105018)
Smith, Phillips, Mitchell, Scott & Nowak, LLP
2545 Caffey Street
Hernando, Mississippi 38632
Post Office Box 346
Hernando, Mississippi 38632
Telephone: (662) 429-5041
Facsimile: (662) 429-0107
Email: tony@smithphillips.com
       sbarber@smithphillips.com

                                         Certificate of Service

       I hereby certify that on September 13, 2021, I electronically filed the foregoing with the
Clerk of the Court using the ECF system which sent notification of such filing to the following:

       Carmalita Carletos-Drayton
       Mary Wu Tullis
       Bruce A. McMullen
       165 Madison Avenue, Suite 2000
       Memphis, Tennessee 38103
       Attorneys for City of Memphis

       This the 13th day of September, 2021.


                                            /s/ W. Abram Orlansky
                                            W. Abram Orlansky




                                                4
